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                            United States District Court
                            Eastern District of Michigan

Cynthia Lewis,

       Plaintiff,
                                           Civil No.
v.
                                           Honorable
                                           Mag. Judge
Hurley Health Services; City of
Flint, Board of Hospital Managers
d/b/a Hurley Medical Center and
HMC; Keith B. Daniels, DPM;
Hamilton Community Health
Network, Inc. d/b/a Hamilton
Community Health Network d/b/a
Hamilton Community Health
Network-Burton Medical Clinic,
Jointly and Severally,
       Defendants.

                               Notice of Removal


      Federal defendants, Hamilton Community Health Network, Inc., Hamilton

Community Health Network-Burton Medical Clinic, and Dr. Keith Daniels,

pursuant to 42 U.S.C. § 233(c), hereby remove this action (Genesee County Court

Case No. 20-114071), which is now pending in Genesee County Circuit Court for

the State of Michigan from that court to the United States District Court for the

Eastern District of Michigan, Southern Division.

      This action is removable because the federal defendants at all times relevant

to this matter, were employees of Hamilton Community Health Network, Inc.,
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which has been deemed eligible for coverage under the Federally Supported Health

Centers Assistance Act of 1992 (Public Law 102-501), 42 U.S.C. § 233(c).

Accordingly, Hamilton Community Health Network, Inc. is an “entity” within the

meaning of 42 U.S.C. § 233(g), and the federal defendants are employees of that

entity within the meaning of 42 U.S.C. § 233(g), and therefore they are deemed to

be employees of the United States Public Health Service covered by 42 U.S.C. §

233. (Ex. 1 – Deeming Declaration and Letters). Because they are deemed to be

employees of the U.S. Public Health Service, defendants Hamilton Community

Health Network, Inc., Hamilton Community Health Network-Burton Medical

Clinic, and Dr. Keith Daniels are eligible for coverage under the FTCA pursuant to

42 U.S.C. § 233(a) and (g). Under 42 U.S.C. § 233(a) and (g), a claim against the

United States pursuant to the FTCA is the exclusive remedy available to the

plaintiff in this case with respect to the alleged acts or omissions of the federal

defendants.

      This action is also removable because the Attorney General, through his

designee, Peter Caplan, Chief of the Civil Division of the United States Attorney=s

Office for the Eastern District of Michigan, has certified that defendants Hamilton

Community Health Network, Inc., Hamilton Community Health Network-Burton

Medical Clinic, and Dr. Keith Daniels who have been deemed to be employees of

the U.S. Public Health Service, were acting within the scope of their employment


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at the time of the incident out of which this suit arose. (Ex. 2 – Certificate of

Scope of Employment).

      This removal is timely because an action may be removed under 42 U.S.C.

233(c) “. . . at any time before trial . . . .” A copy of the complaint that plaintiff

filed in the Genesee County Circuit Court is attached.

                                                Respectfully submitted,

                                                Matthew Schneider
                                                United States Attorney

                                                s/Zak Toomey
                                                Zak Toomey (MO61618)
                                                Assistant U.S. Attorney
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Date: July 20, 2020




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                              Certificate of Service

      I hereby certify that on July 20, 2020, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system, which will send

notification of such filing to the following:

      n/a

      I further certify that I have mailed by U.S. mail the foregoing paper to the

following non-ECF participants:

      Clerk of Court
      7th Judicial Circuit Court
      Genesee County Court
      900 Saginaw Street
      Flint, MI 48502

      Emily Peacock
      Olsman Mackenzie Peacock & Wallace, PC
      2684 West Eleven Mile Rd
      Berkley, MI 28072

                                                s/Zak Toomey
                                                Zak Toomey
                                                Assistant U.S. Attorney




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